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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:13CR3086
      vs.
                                                    MEMORANDUM AND ORDER
TRENT L. KINGSLEY,
                    Defendants.



      Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
52). As explained in the motion, the parties need additional time to engage in plea
discussions. The motion to continue is unopposed. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)      Defendant’s motion to continue, (filing no. 52), is granted.

      2)     The defendant's plea hearing will be held before the undersigned magistrate
             judge on December 12, 2012 at 10:00 a.m.. The defendant is ordered to
             appear at this hearing.

      3)     For the reasons stated by counsel in the motion, the Court finds that the
             ends of justice served by continuing defendant's plea hearing outweigh the
             best interest of the defendant and the public in a speedy trial. Accordingly,
             the time between today's date and the district court judge's acceptance or
             rejection of the anticipated plea of guilty shall be excluded for speedy trial
             calculation purposes. 18 U.S.C. § 3161(h)(7).


      November 5, 2013.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
